           Case 1:14-vv-00993-UNJ Document 18 Filed 02/24/15 Page 1 of 2




        In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                           No. 14-993V
                                     Filed: January 12, 2015

****************************
CHRISTINA LOKAY,                          *
                                          *
                      Petitioner,         *     Ruling on Entitlement; Concession;
                                          *     Influenza Vaccine or Flu Vaccine;
                                          *     Special Processing Unit; Shoulder Injury
SECRETARY OF HEALTH                       *     Related to Vaccine Administration;
AND HUMAN SERVICES,                       *     SIRVA
                                          *
                      Respondent.         *
                                          *
****************************
Danielle Strait, Esq., Maglio, Christopher and Toale, PC Washington, DC, for petitioner.
Lara Englund, Esq., U.S. Dept. of Justice, Washington, DC for respondent.

                                     RULING ON ENTITLEMENT1

Vowell, Chief Special Master:

      On October 15, 2014, Christina Lokay filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq,2 [the
“Vaccine Act” or “Program”]. Petitioner alleges that she suffered a shoulder injury which
was caused by the influenza vaccine she received on November 19, 2013. Petition at
1. The case was assigned to the Special Processing Unit of the Office of Special
Masters.

        On January 12, 2015, respondent filed her Rule 4(c) report [“Res. Report”] in
which she concedes that petitioner is entitled to compensation in this case. Res. Report
at 3. Specifically, respondent believes petitioner’s injury is “consistent with a shoulder
injury related to vaccine administration (SIRVA)” and agrees it was caused by the flu
vaccine she received on November 19, 2013. Id. Respondent further agrees that


1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I intend to
post it on the United States Court of Federal Claims' website, in accordance with the E-Government Act
of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501
note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2006).
         Case 1:14-vv-00993-UNJ Document 18 Filed 02/24/15 Page 2 of 2



petitioner’s injury lasted for more than six months and “[n]o other causes for petitioner’s
SIRVA were identified.” Id.

       In view of respondent’s concession and the evidence before me, I find that
petitioner is entitled to compensation.

                                   s/Denise K. Vowell
                                   Denise K. Vowell
                                   Chief Special Master




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